         Case 3:24-cv-00347-AN         Document 258        Filed 08/14/24   Page 1 of 4



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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION

FEDERAL TRADE COMMISSION,                            Case No.: 3:24-cv-00347-AN
STATE OF ARIZONA,
STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA,
STATE OF ILLINOIS,                                   DECLARATION OF ESTEFANIA Y.
STATE OF MARYLAND,                                   TORRES PAEZ IN SUPPORT OF
STATE OF NEVADA,                                     MOTION IN LIMINE TO EXCLUDE
STATE OF NEW MEXICO,                                 EVIDENCE MADE FOR LITIGATION
STATE OF OREGON, and                                 AND EVIDENCE PRODUCED AFTER
STATE OF WYOMING,                                    THE END OF FACT DISCOVERY, AND
                                                     ANY EXPERT TESTIMONY BASED
Plaintiffs,                                          ON SUCH EVIDENCE

v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

Defendants.

        I, Estefania Y. Torres Paez, declare as follows:

        1.     I am an Assistant Attorney General at the Office of the Attorney General for the

District of Columbia. I am over the age of 18 and counsel of record for Plaintiff, District of

Columbia, in the above-captioned action. I make this declaration based on personal knowledge. I

TORRES PAEZ DECLARATION
                                                 1
        Case 3:24-cv-00347-AN         Document 258          Filed 08/14/24   Page 2 of 4




make this declaration in support of the Motion in Limine to Exclude Evidence Made for Litigation

and Evidence Produced after the End of Fact Discovery, and any Expert Testimony Based on Such

Evidence.

       2.     Attached to this declaration as Exhibit A is a true and correct copy of a portion of

Albertsons’ May 17, 2024 Opposition to Complaint Counsel’s Motion to Compel.

       3.     Attached to this declaration as Exhibit B is a true and correct copy of C&S’ draft

Walnut Business Plan, dated June 2024.

       4.     Attached to this declaration as Exhibit C is a true and correct copy of Defendants’

expert Daniel Galante’s Report, dated July 1, 2024.

       5.     Attached to this declaration as Exhibit D is a true and correct copy of an email from

Samantha Hynes to Laura Hall, et al., dated July 8, 2024.

       6.     Attached to this declaration as Exhibit E is a true and correct copy of C&S’ draft

Walnut Business Plan, dated October 3, 2023.

       7.     Attached to this declaration as Exhibit F is a true and correct copy of Eric Winn’s

investigational hearing transcript, dated December 8, 2023.

       8.     Attached to this declaration as Exhibit G is a true and correct copy of a C&S

Pharmacy Business Plan, dated November 6, 2023.

       9.     Attached to this declaration as Exhibit H is a true and correct copy of C&S’ draft

Walnut Business Plan, dated June 2024.

       10.    Attached to this declaration as Exhibit I is a true and correct copy of C&S’ draft

Walnut Business Plan, dated September 12, 2023.

       11.    Attached to this declaration as Exhibit J is a true and correct copy of C&S’ draft

Walnut Business Plan, dated June 26, 2024.



TORRES PAEZ DECLARATION
                                                2
         Case 3:24-cv-00347-AN         Document 258        Filed 08/14/24      Page 3 of 4




       12.     Attached to this declaration as Exhibit K is a true and correct copy of Bain’s Fresh

Efficiencies Update dated June 26, 2024.

       13.     Attached to this declaration as Exhibit L is a true and correct copy of Defendants’

expert Rajiv Gokhale’s Report, dated July 1, 2024.

       14.     Attached to this declaration as Exhibit M is a true and correct copy of Bain’s Fresh

Efficiencies Update, dated April 2024.

       15.     Attached to this declaration as Exhibit N is a true and correct copy of Samuel

Rowland’s deposition transcript, dated June 6, 2024.

       16.     Attached to this declaration as Exhibit O is a true and correct copy of Defendants’

Network Design Initiatives, dated June 2024.

       17.     Attached to this declaration as Exhibit P is a true and correct copy of Kroger’s

Board Update of Efficiencies, dated June 13, 2024.

       18.     Attached to this declaration as Exhibit Q is a true and correct copy of June Audit

Committee Materials, dated June 21, 2024.

       19.     Attached to this declaration as Exhibit R is a cover sheet in place of the Avocados

CY23 Efficiency excel file, dated June 25, 2024. The native file is available upon request.

       20.     Attached to this declaration as Exhibit S is a cover sheet in place of the Beef Muscle

Cuts Analysis excel file, dated June 25, 2024. The native file is available upon request.

       21.     Attached to this declaration as Exhibit T is a cover sheet in place of the Efficiencies

Model Refresh excel file, dated June 25, 2024. The native file is available upon request.

       22.     Attached to this declaration as Exhibit U is a cover sheet in place of the Floral

Efficiency excel file, dated June 25, 2024. The native file is available upon request.

       23.     Attached to this declaration as Exhibit V is a true and correct copy of Beef Cuts



TORRES PAEZ DECLARATION
                                                 3
        Case 3:24-cv-00347-AN          Document 258       Filed 08/14/24      Page 4 of 4




Analysis Summary, dated June25, 2024.

       24.     Attached to this declaration as Exhibit W is a true and correct copy of Bain’s

National Brand (“NB”) Sourcing Efficiencies, dated June 25, 2024.

       25.     Attached to this declaration as Exhibit X is a true and correct copy of Rajiv

Gokhale’s deposition transcript, dated July 16, 2024.

       I declare under penalty of perjury that the foregoing is true and correct.

               Executed on August 14, 2024, in the District of Columbia.



                                           /s/ Estefania Y. Torres Paez
                                           Estefania Y. Torres Paez, DC Bar No. 1742057

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                                           Attorney for Plaintiff District of Columbia




TORRES PAEZ DECLARATION
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